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                                  5                            IN THE UNITED STATES DISTRICT COURT
                                  6                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  7
                                            IN RE: UBER TECHNOLOGIES, INC.,
                                  8                                                      MDL No. 3084 CRB
                                            PASSENGER SEXUAL ASSAULT
                                  9         LITIGATION
                                            _________________________________/           PRETRIAL ORDER NO. 18:
                                  10                                                     ORDER ON MOTIONS TO
                                            This Order Relates To:                       DISMISS PURSUANT TO
                                  11                                                     FLORIDA, ILLINOIS, AND NEW
                                                                                         YORK LAW
Northern District of California




                                  12        ALL ACTIONS
 United States District Court




                                  13
                                  14
                                       I.       BACKGROUND
                                  15
                                                A.     Procedural Background
                                  16            On August 15, 2024, the Court issued an order deciding Uber’s Motions to Dismiss
                                  17   pursuant to the law of Texas and California. Pretrial Order No. 17: Order on Motions to
                                  18   Dismiss Pursuant to California and Texas Law (dkt. 1044). After issuing that order, the
                                  19   Court asked the parties to state their positions on how the Court’s order should be applied
                                  20   to Uber’s Motions to Dismiss under the laws of Florida, Illinois, and New York. Having
                                  21   received the parties’ positions, the Court now decides Uber’s remaining Motions to
                                  22   Dismiss. A more complete accounting of the procedural and factual background of this
                                  23   case, as well as a summary of the allegations in Plaintiffs’ Master Complaint, can be found
                                  24   in the prior order.
                                  25            In each of its Florida, New York, and Illinois Motions to Dismiss (dkt. 386, 385,
                                  26   388), Uber moves to dismiss all pleaded claims except for Plaintiffs’ core negligence
                                  27   claims. The following table indicates the parties’ positions on how the Court should
                                  28
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                                  1    decide those motions in light of its prior order, as stated in their supplemental briefs. See
                                  2    dkt. 1637, 1641.
                                  3                                               Florida           Illinois          New York
                                  4       Claim B: Negligent Entrustment
                                                                                   Grant             Grant              Grant
                                          Only
                                  5       Claim C: Fraud and
                                                                                   Grant             Grant              Grant
                                          Misrepresentation
                                  6
                                          Claim D: Negligent Infliction of
                                                                                  Disputed           Grant              Grant
                                  7       Emotional Distress (“NIED”)
                                          Claim E: Common Carrier Non-
                                  8                                               Disputed          Disputed         Not Pleaded
                                          Delegable Duties
                                  9       Claim F: Other Non-Delegable
                                                                                   Grant             Grant              Grant
                                          Duties
                                  10      Claim G.1: Respondeat
                                                                                Withdrawn           Disputed         Not Pleaded
                                          Superior
                                  11
                                          Claim G.2: Apparent Agency
                                                                                   Grant            Disputed            Grant
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                                          Claim G.3: Ratification
                                                                                   Grant             Grant              Grant
                                  13
                                          Claim H: Products Liability
                                                                                   Grant             Grant              Grant
                                  14
                                          Claim I: Injunctive Relief
                                                                                   Grant             Grant              Grant
                                  15
                                          Punitive Damages
                                                                                   Deny              Deny               Deny
                                  16
                                  17          Since the Plaintiffs concede that most of the claims challenged by Uber’s motions

                                  18   should be dismissed in light of the Court’s previous order, the Court does so now. Uber’s

                                  19   Motion to Dismiss under the law of Florida is granted as to the following claims: Claim B

                                  20   (Negligent Entrustment only), Claim C (Fraud and Misrepresentation), Claim F (Other

                                  21   Non-Delegable Duties), Claim G (as to Apparent Agency and Ratification theories of

                                  22   Vicarious Liability), H (Products Liability), and Claim I (Injunctive Relief). Uber’s

                                  23   Florida Motion is denied as to punitive damages. Uber’s Motion to Dismiss under the law

                                  24   of Illinois is granted as to the following claims: Claim B (Negligent Entrustment only),

                                  25   Claim C (Fraud and Misrepresentation), Claim D (Negligent Infliction of Emotional

                                  26   Distress), Claim F (Other Non-Delegable Duties), Claim G.3 (Ratification), H (Products

                                  27   Liability), and Claim I (Injunctive Relief). Uber’s Illinois Motion is denied as to punitive

                                  28   damages. Uber’s Motion to Dismiss under the law of New York is granted as to all

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                                  1    challenged claims and is denied as to punitive damages.
                                  2           With these undisputed matters out of the way, the Court now turns to four disputed
                                  3    issues: (1) whether Florida’s transportation network company (“TNC”) statute bars
                                  4    vicarious liability, (2) whether the Florida and Illinois TNC statutes bar common carrier
                                  5    liability, (3) Plaintiffs’ NIED claim under Florida law, and (4) whether intentional torts can
                                  6    be considered within the scope of employment under Illinois law. The Court applies the
                                  7    same legal standard to these issues as discussed in its prior order on Uber’s California and
                                  8    Texas motions to dismiss. See Pretrial Order No. 17 at 8.
                                  9    II.    DISCUSSION
                                  10          A.     Vicarious Liability Statute (Florida)
                                  11          As it did in its Texas Motion to Dismiss, Uber invokes Florida’s TNC Statute as a
                                       bar to vicarious liability. This statute reads, in relevant part:
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                                  13                 (18) Vicarious liability.--
                                                     (a) A TNC is not liable under general law by reason of owning,
                                  14                 operating, or maintaining the digital network accessed by a TNC
                                                     driver or rider, or by being the TNC affiliated with a TNC driver,
                                  15                 for harm to persons or property which results or arises out of the
                                                     use, operation, or possession of a motor vehicle operating as a
                                  16                 TNC vehicle while the driver is logged on to the digital network
                                                     if:
                                  17                 1. There is no negligence under this section or criminal
                                                     wrongdoing under the federal or Florida criminal code on the
                                  18                 part of the TNC;
                                                     2. The TNC has fulfilled all of its obligations under this section
                                  19                 with respect to the TNC driver; and
                                                     3. The TNC is not the owner or bailee of the motor vehicle that
                                  20                 caused harm to persons or property.
                                  21   Fla. Stat. § 627.748(18).
                                  22          Plaintiffs, for their part, argue that sexual assault is not the sort of harm envisioned
                                  23   by the statute, and it thus does not apply here. They hang their hat on subclause 18(a)(3),
                                  24   which requires that the TNC not own “the motor vehicle that caused harm to persons or
                                  25   property” for the section to apply. Id. In Plaintiffs’ eyes, this means the statute precludes
                                  26   vicarious liability for only those harms that are caused by motor vehicles (i.e., car
                                  27   accidents). The Court considered similar arguments regarding Texas’s TNC Statute and
                                  28   found the statute precluded vicarious liability. See Pretrial Order No. 17 at 12–14. For
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                                  1    similar reasons as discussed there, the Court finds Florida’s TNC statute encompasses
                                  2    sexual assault.
                                  3           As the Court noted with regard to the Texas TNC statute, “[d]eciding how the TNC
                                  4    [statute] applies to claims for sexual assaults by rideshare drivers is an exercise in statutory
                                  5    interpretation.” Dkt. 1044 at 13. In Florida, as in Texas, “[t]he goal of statutory
                                  6    interpretation is to identify the Legislature's intent.” Schoeff v. R.J. Reynolds Tobacco
                                  7    Co., 232 So. 3d 294, 301 (Fla. 2017). “If the plain meaning of the language is clear and
                                  8    unambiguous, then the Court need not delve into principles of statutory construction unless
                                  9    that meaning leads to a result that is either unreasonable or clearly contrary to legislative
                                  10   intent.” Polite v. State, 973 So. 2d 1107, 1111 (Fla. 2007), as clarified (Jan. 24, 2008).
                                  11          The plain meaning of the statute’s language indicates a legislative intent for broad
                                       limitation of a TNC’s vicarious liability. Plaintiffs’ point that subclause 18(a)(3) only
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                                  13   contemplates harms caused by motor vehicles is well-taken, but the language used in its
                                  14   parent clause clearly contemplates other harms: those “result[ing] or aris[ing] out of the
                                  15   use, operation, or possession of a motor vehicle operating as a TNC vehicle while the
                                  16   driver is logged on to the digital network.” Fla. Stat. § 627.748(18)(a). If the legislature
                                  17   intended to limit the covered harms to just car accidents, it would not have defined those
                                  18   harms so broadly in the introductory paragraph. Further, for the vicarious liability bar to
                                  19   apply, the Florida TNC statute requires that “[t]he TNC has fulfilled all of its obligations
                                  20   under this section with respect to the TNC driver,” including screening drivers for prior
                                  21   offenses like sexual battery. Id. at (12)(d)(1)(c). As the Court noted in its prior order,
                                  22   “[c]onditioning the statute’s protections on compliance with these obligations would make
                                  23   little sense if the statute were only applicable to car accidents.” Pretrial Order No. 17 at
                                  24   14. The Court thus finds the text of the statute is sufficiently clear to determine it
                                  25   encompasses sexual assault and precludes Uber from being found vicariously liable for
                                  26   such harms.
                                  27          Plaintiffs point out that this section of the statute became effective on June 23,
                                  28   2020. Thus, any vicarious liability claims based on incidents occurring before that date
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                                  1    remain unaffected by the Florida TNC statute’s vicarious liability bar.
                                  2           B.     Common Carriers’ Non-Delegable Duties (Florida and Illinois)
                                  3           Uber moves the Court to dismiss Claim E under both Florida and Illinois law
                                  4    because each state’s TNC statute carves out TNCs as common carriers. Plaintiffs dispute
                                  5    this point with regard to Florida law but tacitly concede Illinois’s TNC Statute precludes
                                  6    common carrier liability, at least before it was repealed on January 1, 2024. See Plaintiffs’
                                  7    Suppl. Br. (dkt. 1637) at 3–4.
                                  8           Plaintiff’s arguments that Florida’s TNC statute only applies for regulatory
                                  9    purposes are as unavailing under Florida law as they were under Texas law. See Pretrial
                                  10   Order No. 17 at 31, n.11. Florida’s statute is clear: TNCs are not common carriers. Judge
                                  11   Chesney considered virtually identical arguments over Florida’s TNC Statute in an
                                       unrelated case in this District, and the Court sees no reason to depart from that precedent.
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                                  13   See Means v. Lyft, Inc., 2024 WL 3012795, at *4 (N.D. Cal. June 13, 2024).
                                  14          But although the statutes dictate that Uber was not a common carrier for the time
                                  15   they were in place, neither statute has been in place for the entire period covered by the
                                  16   Master Complaint, and neither statute is retroactive. As the Illinois TNC Statute was
                                  17   repealed January 1, 2024, common carrier claims relating to any incidents which occurred
                                  18   after that date are not affected by the statute. The Florida statute is still valid law but did
                                  19   not become effective until July 1, 2017. Thus, common carrier claims relating to incidents
                                  20   that occurred before that date are similarly not affected by the statute. With some number
                                  21   of common carrier claims still live under both Florida and Illinois law, the Court now turns
                                  22   to analyzing the scope of Uber’s duties as a common carrier in each state.
                                  23          Florida and Illinois have similar definitions of a common carrier. Fla. Stat. §
                                  24   908.111 (“‘Common carrier’ means a person, firm, or corporation that undertakes for hire,
                                  25   as a regular business, to transport persons or commodities from place to place, offering his
                                  26   or her services to all such as may choose to employ the common carrier and pay his or her
                                  27   charges.”); Browne v. SCR Med. Transp. Servs., Inc., 356 Ill. App. 3d 642, 646, 826
                                  28   N.E.2d 1030, 1034 (2005) (“a common carrier is one who undertakes for the public to
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                                  1    transport from place to place such persons or the goods of such persons as choose to
                                  2    employ him for hire.”) (internal quotations and citations removed). There seemingly can
                                  3    be no doubt that for the period not covered by the applicable TNC Statute, Uber would
                                  4    meet the definition of a common carrier in both states.
                                  5           Florida law imposes a duty on common carriers that “includes vicarious liability for
                                  6    the torts of employees visited upon a passenger while the contract for transport is being
                                  7    accomplished.” Nazareth v. Herndon Ambulance Serv., Inc., 467 So. 2d 1076, 1081 (Fla.
                                  8    Dist. Ct. App. 1985). It is of no moment whether or not “the employee's actions fall
                                  9    outside the scope of employment.” Nadeau v. Costley, 634 So. 2d 649, 652 (Fla. Dist. Ct.
                                  10   App. 1994). Rather, Florida courts apply a “strict liability rule for employee assaults in
                                  11   common carrier-passenger cases.” Doe v. Celebrity Cruises, Inc., 394 F.3d 891, 915 (11th
                                       Cir. 2004).
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                                  13          Similarly, in Illinois, “[c]ommon carriers owe their passengers the highest degree of
                                  14   care.” Green v. Carlinville Cmty. Unit Sch. Dist. No. 1, 381 Ill. App. 3d 207, 213, 887
                                  15   N.E.2d 451, 456 (2008). This duty extends to “the intentional acts of its employees, even
                                  16   if those acts are committed outside the scope of employment.” Dennis v. Pace Suburban
                                  17   Bus Serv., 2014 IL App (1st) 132397, ¶ 16, 19 N.E.3d 85, 92. It is clear to the Court that
                                  18   common carrier liability would extend to sexual assaults by drivers against passengers
                                  19   under both Florida and Illinois law.
                                  20          Uber’s only argument around this issue is a brief reference to three decisions from
                                  21   other states suggesting disagreement with these longstanding principles of common law.
                                  22   See Uber’s Omnibus Reply at 21–22, n.12. The Court finds this argument unconvincing.
                                  23   Therefore, for cases arising in the period before Florida’s TNC Statute became effective,
                                  24   the Court denies Uber’s Florida Motion to Dismiss as to Claim E and further finds Uber’s
                                  25   common carrier non-delegable duties can form an independent basis for vicarious liability
                                  26   under Florida law. For cases arising in the period after Illinois’s TNC Statute was
                                  27   repealed, the Court denies Uber’s Illinois Motion to Dismiss as to Claim E and finds
                                  28   Uber’s common carrier non-delegable duties can form an independent basis for vicarious
                                                                                     6
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                                  1    liability under Illinois law.
                                  2           C.      Claim D: Negligent Infliction of Emotional Distress (Florida)
                                  3           Uber moves to dismiss Plaintiffs’ claim for the negligent infliction of emotional
                                  4    distress (NIED) under Florida law. The elements for NIED are:
                                  5                   (1) the plaintiff must suffer a physical injury; (2) the plaintiff’s
                                                      physical injury must be caused by the psychological trauma; (3)
                                  6                   the plaintiff must be involved in some way in the event causing
                                                      the negligent injury to another; and (4) the plaintiff must have a
                                  7                   close personal relationship to the directly injured person.
                                  8    Zell v. Meek, 665 So. 2d 1048, 1054 (Fla. 1995).
                                  9           Plaintiffs have not alleged that any other persons were involved in the underlying
                                  10   assaults, let alone that such a person had a relationship with the plaintiff. Thus, their
                                  11   allegations cannot support elements (3) or (4) of an NIED claim.
                                              Plaintiffs rely on Florida’s “impact rule” to carry their NIED claim, despite not
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                                  13   meeting the claim’s elements. But the “impact rule” is better understood as a limit on the
                                  14   scope of recovery for emotional suffering rather than to expand the definition of NIED.
                                  15   See Rowell v. Holt, 850 So. 2d 474, 478 (Fla. 2003) (“The impact rule has been
                                  16   traditionally applied primarily as a limitation to assure a tangible validity of claims for
                                  17   emotional or psychological harm.”). As such, Plaintiffs’ claim for negligent infliction of
                                  18   emotional distress under Florida law is dismissed.
                                  19          D.      Claim G: Vicarious Liability (Illinois)
                                  20          Finally, Plaintiffs maintain a tenuous grip on two theories of vicarious liability
                                  21   under Illinois law: respondeat superior and apparent agency. Both theories, Plaintiffs say,
                                  22   rise and fall on whether Uber authorized or enabled the conduct of their drivers. See
                                  23   Plaintiff’s Suppl. Br. at 4. The question for both theories turns, in other words, on whether
                                  24   the alleged sexual assaults were within the scope of employment. As Plaintiffs point out,
                                  25   the analysis required here is different from that the Court’s applied in its prior Order on
                                  26   California law, because “California does not follow the traditional common law rule that
                                  27   intentional torts can only be considered ‘within the scope of employment’ where the
                                  28   employee acts to serve the employer’s interests.” Pretrial Order No. 17 at 15 (citing Lisa
                                                                                       7
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                                  1    M. v. Henry Mayo Newhall Meml. Hosp., 907 P.2d 358, 361 (Cal. 1995)).
                                  2           The traditional common law rule the Court referenced bars Plaintiffs’ remaining
                                  3    vicarious liability theories. Illinois law is clear on the matter. In a nearly identical context
                                  4    (sexual assaults by a ridesharing company driver), an Illinois appeals court noted that “an
                                  5    act of sexual assault, by its very nature, precludes the conclusion that it was committed
                                  6    within the scope of employment.” Doe v. Lyft, Inc., 2020 IL App (1st) 191328, ¶ 19, 176
                                  7    N.E.3d 863, 870 (internal quotations and citations removed). Indeed, “in Illinois the cases
                                  8    are clear that as a matter of law acts of sexual assault are not within the scope of
                                  9    employment.” Deloney v. Bd. of Educ. of Thornton Twp., 666 N.E.2d 792, 799 (Ill. App.
                                  10   Ct. 1996).
                                  11          To overcome these clear statements of Illinois law, Plaintiffs rely on two federal
                                       decisions. One is Doe v. Roe, a 2013 case in which an on-duty police officer sexually
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                                  13   assaulted the plaintiff, who sued the police department that employed the assailant. The
                                  14   court denied a motion to dismiss the plaintiff’s respondeat superior claims, finding that the
                                  15   sexual assault could be considered within the police officer’s scope of employment. Doe
                                  16   v. Roe, 2013 WL 2421771, at *4 (N.D. Ill. June 3, 2013). Uber urges the Court to reject
                                  17   this precedent as a being a member of a “group of inapposite cases involving police abuse”
                                  18   of power. Omnibus Reply at 6. But the Court need not parse whether the scope of a police
                                  19   officer’s employment is different from that of another employee because the reasoning of
                                  20   Doe v. Roe has been explicitly rejected by the appellate courts of Illinois. See Powell v.
                                  21   City of Chicago, 2021 IL App (1st) 192145, ¶ 27, 197 N.E.3d 219, 226 (stating, in a
                                  22   discussion of Doe v. Roe and similar federal cases, “[t]hese cases fail to convince us to
                                  23   diverge from the strong precedent set forth by this court; specifically, they fail to explain
                                  24   how sexual assault is the kind of conduct that a police officer is employed to perform and
                                  25   how sexual assault furthers an employer's business.”). Although Illinois appellate courts
                                  26   have not commented on the other case Plaintiffs rely on, Jones v. Patrick & Assocs.
                                  27   Detective Agency, Inc., 442 F.3d 533 (7th Cir. 2006), Doe v. Roe relies heavily on its
                                  28   reasoning to reach its conclusion. See 2013 WL 2421771 at *4. The Court is convinced
                                                                                      8
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                                  1    Illinois courts would be no more compelled by Jones than they are Doe v. Roe. Therefore,
                                  2    the Court declines to adopt the rule articulated in those cases.
                                  3           As sexual assault cannot be considered within the scope of employment under
                                  4    Illinois law, Plaintiffs’ remaining vicarious liability theories must be dismissed.
                                  5    III.   CONCLUSION
                                  6           For the foregoing reasons, the Court orders as follows:
                                  7           Uber’s Motion to Dismiss under the law of Florida is granted as to the following
                                  8    claims: Claim B (Negligent Entrustment only), Claim C (Fraud and Misrepresentation),
                                  9    Claim D (Negligent Infliction of Emotion Distress), Claim E (Common Carriers’ Non-
                                  10   Delegable Duties, in part, as discussed above), Claim F (Other Non-Delegable Duties),
                                  11   Claim G (Vicarious Liability, in part, as discussed above), H (Products Liability), and
                                       Claim I (Injunctive Relief). Uber’s Florida Motion is denied as to punitive damages and
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                                  13   those vicarious liability and common carrier claims not excluded by Florida’s TNC
                                  14   Statute, as discussed above.
                                  15          Uber’s Motion to Dismiss under the law of Illinois is granted as to the following
                                  16   claims: Claim B (Negligent Entrustment only), Claim C (Fraud and Misrepresentation),
                                  17   Claim D (Negligent Infliction of Emotional Distress), Claim E (Common Carriers’ Non-
                                  18   Delegable Duties, in part, as discussed above), Claim F (Other Non-Delegable Duties),
                                  19   Claim G (Vicarious Liability, in part, as discussed above), H (Products Liability), and
                                  20   Claim I (Injunctive Relief). Uber’s Illinois Motion is denied as to punitive damages and
                                  21   those vicarious liability and common carrier claims not excluded by Illinois’s TNC Statute,
                                  22   as discussed above.
                                  23          Uber’s Motion to Dismiss under the law of New York is granted as to all challenged
                                  24   claims and is denied as to punitive damages.
                                  25          Dismissal is with leave to amend.
                                  26          IT IS SO ORDERED.
                                  27          Dated: October 7, 2024
                                                                                          CHARLES R. BREYER
                                  28                                                      United States District Judge
                                                                                      9
